United States {Jisttrict Court
ease 7:13-mj-01035 Documem 1 Filed in TXSD on 05/22/18 Pa&e“&‘eé‘ll-Zi€§'° °‘Texas

MAY 22 2018

AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT CoURT

for the

Southern District of Texas

 

 

United States of America )
_ v. ) .
iviiguei Angel ouTiERREz ) ease No. '»l' .` ij ims lO §§
YOB: 1991 )
)
)
Defendant(s)
CRIM]NAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of I\/lay 21, 2018 in the county of Cameron in the
Southem District of Texas , the defendant(s) violated:
Code Section Ojj‘"ense Description
18 USC Section 554, & 2 Did knowingly and unlawfully export or attempt to export from the United

States, any merchandise, article, or object, to Wit: a l\/l203 Launcher Barrell
as defined by the United States |\/|unitions List, contrary to any law or
regulation of the United States, in that the Defendants had not obtained a
license or Written authorization for such export, in violation of Title 22, United
States Codel Sections 2278(b)(2) and 2278(c) and Title 22, Code of Federal
Regu|ations, Sections 121.1,123.1, 127.1 and 127.3 all in violation of Tit|e 18,
United States Codel Section 554.

This criminal complaint is based on these facts'.
See Attachment "A"

IQ{ Continued on the attached sheet.

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SI 2,7,"1,3¢ g Complainant’ s signature

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Printed name and title
SWorn to before me and signed in my presence.
Judge’ s signatu) e

City and state: |Vch||en, Texas Juan F. A|anis, United States l\/lagistrate Judge

Printed name and title

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Attachment “A”

On May 18, 2018, as part of an ongoing firearms trafficking investigation,_ Homeland
Security lnvestigations (HSI) Special Agents (SA) seized a M203 launcher barrel from a
cooperating defendant (CD) in Brownsville, Texas, after the CD admitted to SAS that the M203
launcher barrel Was intended to be smuggled into MeXico.

On May Zl, 2018, the CD contacted an unnamed co-conspirator in MeXico and advised the
unnamed co-conspirator that the M203 launcher barrel Was ready to be picked up and smuggled
into Mexico. The unnamed co-conspirator Stated the unnamed co-conspirator Would send someone
to pick up the M203 launcher tube from the CD and they agreed to meet in BroWnsville, TeXas.

HSI SAS provided the CD With the original packaging for the M203 launcher barrel and
the CD provided the packaging to Miguel Angel GUTIERREZ (hereafter referred to as
GUTIERREZ) Who then attempted to smuggle the package from the United States into MeXico by
Walking across the United States / MeXico International Boundary. f

GUTIERREZ Was encountered by Customs and Border Protection Ofticers Who detained
GUTIERREZ for additional questioning

GUTIERREZ Was advised of his Miranda rights and stated that he Was Willing to speak
With SAS Without an attorney present During the interview that followed, GUTIERREZ stated
GUTIERREZ had been recruited by an unnamed co-conspirator in MeXico to smuggle a tube used
for launching grenades from the United States into MeXico and he knew it Was illegal to smuggle
a grenade launcher tube into MeXico.

According to the Department of State, Office of Defense Trade Controls Compliance
(DTCC), M203 launcher tubes are determined to be a defense article described on the United States
Munitions List (USML) and regulated for export pursuant to the Arms Export Control Act (22

U.s.C. 2778).

